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                           Exhibit 3
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                                                                          COURT
  (Rev.11/9/00)                                                 DAT -: 9Q
                       IN THq UNITED STATES DISTRICT CO              UTY       L RK
                      FO R THE W ESTERN DISTRICT O F VIRG INIA
                              CHARLOU ESV ILLE DIVISIO N




   UNITED STATES O F AM ERICA

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            Inthepresenceof71èq'2         .
                                          h$ 1m ycöklnsel,who hasfullyexplaiqedthe
  chargqscontainedinthe '
                        xachkcà-em'Ppl
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                                      v - againstm e,and having received a
  copy ofthe sa&'CMM M V fromtheUni     tedstatesAqorneybeforebeingcall ed
                '




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                       eadguiltytosaid'
                                      IGd îCSY VGV and countls)
  thereof,reserving in w riting the rightto appealan adverse determ ination ofa speci
                                                                                    fied

  pretrialm otion.Ihave been advised ofthe m axim um punishm entw hich m ay be im posed

   by the courtforthis offense.My plea ofguil
                                            ty is m ade knowingly and voluntarily and

  withoutthreatofany kind orwithoutprom ises otherthan those disclosed here in open

   court.




                                                 Slgnature ofDefendant



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     Case 2:18-cr-00759-CJC Document 137-3 Filed 05/06/19 Page 3 of 20 Page ID #:917
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                                   UNITED STATES DISTRICT COURT
                                               FOR TH E
                                   W ESTERN D ISTRICT O F VIRGIN IA
                                     CH ARLOTTESVILLE DW ISIO N

        UNITED STATES O F AM ER ICA                        CriminalNo.3:18 CR 00025 @ KM )
                  V.

        TH OM AS W ALTER GILLEN


                                        STATEM EN T OF O FFEN SE

               The offensesdescribed below occurred within the W estem DistrictofVirginia,asw ellas
        other districts. This Statem ent of Facts brieily summ arizes the facts and circum stances
        surrounding the defendant'scrim inalconduct. Itdoesnotcontain a1lofthe infonnation obtained
        dming this investigation and applicable to an accurate Presentence Report and Sentencing
        Guidelincscalculation.

              Tllisstatem entoffactsisnotprotected by profferagreem entorany otherav e-em ent, and
        shallbe wholly admissible attrialin the eventthis plea is laterw ithdrawn noY ithstanding any
        Rulesorstatutesto the contrary,including butnotlim ited to,FederalRulesofEvidence408 and
        410,and FederalRule ofClim inalProcedure 11.
               ln early-
                       2017 the defendantThomajW alterGillen and other individuals participated in
        an organization originally known'asthe EGDIY Division''thatwas later re-branded as the Etltise
        AboveM ovement''orSGRAM .'' RAM waslocated in the greateriosAngeles,California area
        and represented itself as a com bat-ready,m ilitant group of a new nationalistwhite suprem acy
        and identity m ovem ent. RAM regularly held hand-to-hand and othercom battraining for RAM
        m em bersand associates to prepare to engage in violentconfrontationsw ith protestorsand other
        individuals at purported ççpolitical''rallies. They attended these rallies w ith the intention of
        provoldngphysicalconflictwithcùunter-protestors,whichtheybelievedwouldjustifythei.
                                                                                         ruse
        of force against the counter-protestors and shield them from prosecution for their acts of
        violence. RAM leadersorganized the training sessionsand attendanceatpoliticalralliesthrough
        phone calls and textm essages. ln 2017,the defendant atended several such com battraining
        eventsand rallies.

              Tluough various socialm edia platform s,RAM would publicly post photographs of its
        m embers w ith their faces partially concealed.' These photographs w ould be accom panied by
         statementssuch asKsW hen the squadg'lsnotoutsmashing commies.'' Thc defendantposed in
         som e ofthese group photographs.


        Defendant'sInitlalst




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           1.     H untington Beach,California on M arch 25,2017

           On M arch 25, 2017, the defendant attended a political rally in Huntington Beach,
   Californiaalong with severalRA.  M ldembers. Atthatevent,severalRAM m emberspursued and
   assaulted protestors and other persons. Follow ing that rally, photographs depicting RAM
   m em bers assaulting protestorsand otherpersons were covered on the news and on various Neo-
   Nazi, white suprem acist w ebsites. RAM m em bers celebrated this coverage, and used the
   Internetto poststatem ents,photographs,and videos ofassaults comm itted by RAM m embersat
   thisrally in orderto recnzitm em bersto engage in violentconfrontationsatftztt
                                                                                zreevents.

           lI.    Berkeley Riotson April15,2017

         On or aboutApril 15,2017,the defendantattended a purpol'ted politicalrally in M artin
   LutherKing Jr.CivicCenterPark in Berkeley,Califom ia.

          Priorto the event,on oraboutApril14,2017,a fellow RAM m embbr,using a debitcard,
   reserved and rented a van from AirportV an Rentals located at the Los Angeles lnternational
   Airport to transport the defendant and other RAM m em bers from southern California to
   Berkeley,Califom ia. On the evening ofFriday,April14,2017,the defendant and eight other
   RAM m embersdrove to Berkeley,California.

            On April 15, 2017, the defendant and other RAM m embers attended the rally.
   Throughoutthe day,there were severalviolentclashes between som e rally attendees and som e
   individuals protesting the rally. ln one ofthe first such instances,RAM m em bers crossed the
   barrier separating the attendees and protestors,and assaulted protestors. A sthe rally broke up,
   rally attendees and protestors dispersed onto the streetsofdowntown Berkeley. The defendant,
   alongside otherRAM m em bers,followed a p oup ofprotestors who were leaving the area. In at
   leastone instance,the defendant- with other RAM m em bers - attacked a protestor,punching
   him severaltim es and stom phlg on him once. The defendant's encotmterwascaptured on video
   and subsequently posted to YouTube.These actsofviolencewerenotin self-defense.

           On April 16,2017,in a textm essage to a friend,the defendantshared a Your  fube video
    ofthe aforem entioned encountershowing him punching and stomping on aprotestor. J. n the text
    message, the defendant identified him self:1$20 seconds in 1'm in the grey shirtttm ing up a
    comm ie.''

            Following the rally,photographsdepicting defendantand otherRAM m embersassaulting
    protestors and other persons were covered on the new s and on various Neo-Nazi, white
    supremacist websites. RAM m embers celebrated this coverage, and used the Internetto post
    photograph and videosof assaults com m itted by RAM m em bers in orderto recruitm embersto
    engage in violent confrontations at future events. For exnm ple,on M ay 15,2017,the RAM
    lnstagram accountposted a photograph ofa RAM m em bcr w earing a black skt       zllm ask atthe
    Berkeley event along with the com ment, çç//rightwingdeathsquad.'' On January 10,2018,the
    RAM Twitteraccountposted         essage describing itselfasdsthe only a1trightcrew thatacttlally

    Defendant'sInltialst




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               beatsantifa senselessand winsrallies.'' On Febm ary 14,2018,the RA.
                                                                                 M Oab accountposted a
               photograyhofaRAM membe'
                                     rpunching aprotestorattheBerkeleyeventalongwith thetext,
               çd-falk shltgethitl''

                      Because one of the RAM m em bers had broken his hand by punching som eone ill               .
               Berkeley, future RAM trainings events would include kaining on using ç<palm strikes''and
               elbow s. Over the sum m er of2017,thedefendantattended these trainings to prepare for futtlre


                       111.   Travelto Charlottesville in August2017

                       In oraround the spring and summ erof2017,an eventreferred to asthettunite thelkight''
               rally w as organized and scheduled to occur on August 12, 2017, at Em ancipation Park in
               Charlottesville, Virginia. This rally was widely prom oted on socialm edia and internet sites
               associated with white-suprem acistindividualsand groups,atld wasscheduled to feature a lineup
               ofwell-known white-suprem acistspeakers.

                       On or about July 29,2017,the defendant,using his credit card,purchased a one-w ay
               ticketfrom Am edcan A irlinesfor comm ercialflightsfrom Los Angeles InternationalAirpol'     tin
               California to Charlottesville A lbem arle Airportin Charlottesville,Virginia,departing on August
               11,2017. 0n August11,2017,the defendantboarded hisflightand traveled from California to
               Charlottesville,Virginia,landingatapproximately2:25p.m.(EST).Atthetimeofhistravel,the
           '   defendantexpected thateitherhe or llis fellow RAM members (some ofwhom were also
               traveling to Charlottesville)would engage in violentconfpntationswith protestorsorother
               individualsattheupcom ing eventsin Charlottesville.

                      In anticipation of these congontations,after arriving in Charlottesville,RAM m embers
               purchased athletic tape atthe W al-M artto wrap theirfists in order to preventtheir hands from
               brealdng when they ptm ched som eone.

                       IV.     TheTorch-tzitM arch atthe University ofVirginia on August11,2017

                       On August11,2017,theevening priorto the scheduledUnitethe Rightrally,hundredsof
               individuals,includingthedefendantandfellow RAM membersandassociates,weregatheringto
               engage in a torch-lit m arch on the grotm ds of the University of Virginia in Charlottesvllle,
               Virginia. At a nearby field where the group w as gathering,the defendant and fellow RAM
               m em bers and associates lined up in formation,lit their torches,and waited for the m arch to
               Com m ence.

                       Throughoutthemarch,thegarticipantsengagedinchantspromotingorexpressingwhite
               suprem acistand otherracistand antl-sem iticview s,such asttBlood and soill''and ççlewsw illnot
               replace usl'' The m arch culm inated nearthe University ofVirginia's Rom nda,whcre a sm aller
               group of individuals,including University ofVirginia students,had gathered around a statue of
               Thom asJefferson to protestth torch-litm arch. M em bers ofthis poup held a bannerthatread:

               Defendant'sInltials.




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   ECVA Students Act Against W hite Supremacy.'' Chanting and bearing torches, th
                                                                                ,e march
   participants encircled the Thomas Jefferson stat'
                                                   ue and surrounded the yrotestors. Violence
   erupted am ong the crow d,w ith som eindividualsptmching,ldcking,spraylng chem icalinitants,
   swinging torches,and othelw ise assaulting others,al1resulting in a riotas thatterm is defm ed
   under18U.S.C.j2102. Duringand infurtheranceofthisriot,RAM membersand associates
   ptm ched and struck m ultiple individualswith atorch.

          V.     The Unitethe RightRally on August12,2017

          On themorning ofAugust12,2017,multiplegroupsand individualsespousinjwhite-
   suprem acist and other anti-sem itic and racist view s arrived in and around the viclnity of
   Em ancipation P>rk in Charlottesville,Virginia,to attend the Unite the Rightrally. W hen they
   show ed up to Em ancipation Park,the defendantand other RAM m em bers had in factwrapped
   their hands w ith the white athletic tape plzrchased the day prior. A fter several instances of
   violence prior to the scheduled start of the rally, 1aw enforcem ent declared an çiunlawful
   assembly''and required rally participantsto disperse.

          One ofthe firstbreakouts ofviolence on the m orning of August 12,2017 occurred on
   2nd StreetNE,between Jefferson and High Streets,in downtown Charlottesville. The defendant
   andotherRAM memberswerepartofalargegroup of(overforty)individuals seekingentryto
   Em ancipation Park by way of2nd StreetNE,butwere told by m em bersof1aw enforcem entthey
   had to enter from a different location.' The group, including the defendant and other RAM
   members,ttumedaround,linedup,andbegantomaketheirwaythroughagroupof(overY enty)
   individualswho had com eto therally to protestagainstracialand otherform sofdiscrim ination.

           A sthey made theirw ay through the group ofprotestors,the RAM m em bers collectively
   pushed, punched, kicked, choked, head-butted, and otherwise assaulted several individuals,
   resulting in a riot. These actswerenotin self-defense.


        V-/r-/M
      Date                                                     om as a terGillen
                                                             Defendant


         f-In-/?-
      Date                                                   David Eustis
                                                             Counself Tho as illen

          -'
              f-z z- lT                                           7 -
                                                             Thom asT.Cullen                -'------
      D ate
                                                             United StatcsAttorney


   Defendant'sInitials:




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        q-1$-1)
      Date                                      luistop      avanau
                                               AssistantU nited esAttorney




   Defendant'sInitialst




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                   IN TH E U NITED STA TES D ISTR ICT C O UR T
                  FO R TH E W ESTERN DISTRICT O F VIRG IN IA
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  UNITED STA TES OF AM ER ICA                @
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                                             @

                                             : CaseNo.3:18cr25 (N
                                             :
  TH O M AS W A LTER G ILLEN                 :

                                  èLEA AGREEM ENT
         1 have àgreed to enter into a plea agreem entw ith the United States of Am erica,
  pursuantto Rule 1lxoftheFederalRulesofCrim inalProcedtlre. Iunderstand thatthisplea
  agreem entexpires on A pril30,2019,and thatIm ustenter this guilty plea by oron that
  date,unless an extension is agreed upon by the United States Attorney's Office for the
  W estern DistrictofV irginia.

        The term sand conditionsofthisagreem entare asfollow s'
                                                              .

  A .CH AR G EIS) TO W H ICH I A M PLEAD IN G G UILTY AN D W M V ER O F
     RIG H TS

     1. TheC hareesand PotentialPunishm ent

        Myattorneyhasinformedmeofthenatureofthechargets)andtheelementsofthe
  chargets)thatmustbeproved by the United Staiesbeyond areasonabledoubtbefore1
  could be found guilty ascharged.

        lw illentera plea ofguilty to Count1oftheIndictm ent.

        Count1chargesmewith Conspiracy to Riot,in violation of18U.S.C.j 371.The
  maximum stam tory penalty is afine of$250,000 and/orimprisonm entfora term offive
  years,plusa term ofsupervised release ofthree years.

        Iunderstandrestitm ionmaybeordered,myassetsmaybesubjecttoforfeiture,and
  feesm ay be im posed to pay forincarceration,supervised release,and costsofprosecution.
  In addition,a$100 specialassessment,pttrsuantto 18U.S.C.j3013,willbeimposedper


                                                            Defendant'sInitlals.
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  felony countofcohviction.lfurtherunderstandmy supervised releasem ayberevoked if
  Iviolate itsterm sand conditions. Iunderstand aviolation ofsupervised release increases
  the possibleperiod ofincarceration.

         Iam pleading guilty as described above because I am in factguilty and because 1
  believe itisin m y bestinterestto do so and notbecause ofany threatsorprom ises. There
  hasbeen no prom ise m ade w hatsoever by anyone as to w hatthe finaldisposition ofthis
  m atterwillbe.

     2. W aiver ofC onstitutionalltiehtsU pon a Plea ofG uiltv

        Iacknow ledgeIhave had a11ofm y rightsexplained to m e and Iexpressly recognize
  Ihave the following constitm ionalrights and,by voluntarily pleading guilty,Iknowingly
  waive and give up these valuableconstim tionalrights:

        a. The rightto plead notguilty and persistin thatplea;
        b. Therighttoaspeedyandpublicjtlrytrial;
        c. The rightto assistance ofcolm selatthattrialand in any subsequentappeal;
        d. The rightto rem ain silentattrial;
        e. The rightto testify attrial;
        f. The rightto confrontand cross-exam ine wim essescalled by the governm ent;
        g. Therightto presentevidence and w im essesin m y own behalf;
        h. Therightto com pulsory processofthe court;
        i. Therightto com pelthe attendance ofwitnessesattrial;
        j. Therighttobepresumed irmocent;
        k. The rightto a unanim ousguilty verdict;and
        1. The rightto appealaguilty verdict.

     3. Dism issalofC ounts

        IfI comply w ith m y obligationsunderthe plea agreem ent,the U nited States w ill
  move,atsentencing,thatIbe dismissed as a defendantin any remaining cotmtts). l
  stipulate and agree the United States had probable cause to bring a11the counts in the
  Indictm ent which are being dism issed under this agreem ent, these charges w ere not
  frivolous,vexatiousorin bad faith,and Iam nota ttprevailing party''w ith regard to these
  charges. Iftzrtherw aive any claim forattom ey'sfeesand otherlitigation expensesarising
  outofthe investigation orprosecution ofthism atter.




                                                            Defendant'sInitlals:
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  B. SEN TEN CIN G PR OV ISIO NS

     1. G eneralM atters

        I understand the determination of w hat sentence should be im posed,w ithin the
  confines ofany applicable statutory m inim um sand m axim um s,isin thesole discretion of
  the Court subject to its consideration of the United States Sentencing Guidelines
  (''guidelines''or''U.S.S.G'')andthefactorssetforth at18U.S.C.j3553(a).Iunderstand
  1w illhave an opportunity to review a copy ofm y presentence reportin advance of m y
  sentencinghearing andmay fileobjections,asappropdate.Iwillhaveanopportunityat
  m y sentencing hearing to presentevidence,bring w im esses,cross-exam ine any wim esses
  thegovernm entcallsto testify,and argue to the Courtwhatan appropriate sentenceshould
  be within the confinesoftheterm softhisagreem ent.

          I understand I will not be eligible for parole during any term of imprisonm ent
  im posed. l understand the Courtis not bound by any recom m endation or stipulation
  contained in this agreem ent and m ay sentence m e up to the stattltory m axim um . I
  understand Iwillnotbe allow ed to w ithdraw m y plea ofguilty ifthe Courtdisregardsthe
  stipulationsand/orrecom m endationssetforth in the plea agreem ent.

         Itm derstand ifthe sentence is m ore severe than 1expected,lw illhave no rightto
  withdraw m y plea. Ihave discussed sentencing issuesw ith m y attorney and realize there
  isa substantiallikelihood Iw illbe incarcerated.

     2. Sentencine G uidelines

        Istipulate and agree thata11m atterspertaining to any ofthe counts ofthe charging
  documentts),including any dismissed counts,are relevant conduct for puposes of
  sentencing.

        The parties agree the zol8  /editionoftheUnitedStatesSentencingGuidelines
  M anualappliestoanygtzidelinescalculationmadepertainingtomyoffensets).1stipulate
  thatthefollowingguidelinesectionts)areapplicabletomyconduct:
                       Aggravated A ssault
             2A 2.2 14 A ssaultInvolvin Intentto Com m itAnotherFelon
       2A 2.2 b 1 + 2 Offenseinvolved m ore than m inim al lannin
    2A 2.2 b 3 A + 3 Victim sustained bodil in'ur



                                                             Defendant'sInitials.
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        TheUnited Statesstipulatesthattheguideline sectionts)setforth in thissection
  should apply to m y conduct.

         Iunderstand other guideline sectionsm ay be applicable to m y case and the United
  Statesand lw illbe free to arguewhetherthese sectionsshould orshould notapply;to the
  extentthe argtlm entsarenotinconsistentwith thestipulations,recom m endationsandterm s
  setforth in thisplea agreem ent.

         I understand the U nited States retains its right to seek a s'
                                                                      entence outside of the
  applicable guideline range.

        1 agree to acceptresponsibility form y conduct. If 1 com ply w ith my obligations
  underthisplea agreem entand acceptresponsibility form y conduct,the United Statesw ill
  recom m end the Com't grant m e a two-level reduction in m y offense level,pursuantto
  U.S.S.G.j3E1.1(a)and,ifapplicable,atsentencing,willmovethat1receiveaone-level
  reduction in my offense level,ptlrsuantto U.S.S.G.j 3E1.1(b),forpurposesofany
  guidelines calculation. H ow ever,I stipulate that if 1failto acceptresponsibility for m y
  conductorfailto com ply w ith any provision ofthisplea agreem ent,Ishould notreceive
  creditforacceptance ofresponsibility.

     3. SubstantialA ssistance

        Iunderstand the U nited States retains a11ofits rightsptlrsuantto Fed.R.Crim .P.
  35(b),U.S.S.G.j5K1.1and 18U.S.C.j3553($. Iunderstand even ifIfully cooperate
  with 1aw enforcem ent,the United Statesis underno obligation to m ake a m otion forthe
  reduction ofm y sentence. Itm derstand iftheU nited Statesm akesam otion fora reduction
  in m y sentence,the Court,after hearing the evidence, will detennine how m uch of a
  depaM re,ifany,Ishould be given.

     4. M onetarv O blieations

        a. SpedalA ssessm ents.Finesand R estitution

        I understand persons convicted of crim es are required to pay a m andatory
  assessm entöf$100.00 perfelony countofconviction. Iagree Iwillsubm itto the U.S.
  Clerk's Office,a certified check,m oney order,or attom ey'strustcheck,m ade payable to
  the çtclerk,U .S.D istrictCourt''forthe totalam ountdue form andatory assessm entsprior
  to entering m y plea ofguilty.




                                                              Defendant'sInitialst
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          lagreeto pay restitm ion forthe entire scope ofm y crim inalconduct,including,but
  notlim ited to,a1lm atters included as relevant conduct. ln addition,l agree to pay any
  restim tion required by law ,including,butnotlim ited to,am ountsdue ptlrsuantto 18 U SC
  jj 2259,3663,and/or3663A. lunderstand and agree arequirementIpay restitm ion for
  a11oftheabove-statedmatterswillbeimposeduponmeaspartofany finaljudgmentin
  thism atter.

          1 further agree to m ake good faith efforts tow ard paym ent of a1l m andatory
  assessm ents,restitution and fines,w ith whatever m eans I have atm y disposal. I agree
  failureto do so w illconstitute a violation ofthisagreem ent. Iwillexecute any docum ents
  necessary to release the ftm ds Ihave in any repository,bank,investm ent,otherfinancial
  instim tion,or any other location in order to m ake partial or total paym ent tow ard the
  m andatory assessm ents,restitm ion and fnesim posed in m y case.

        Ifully tm derstand restim tion and forfeiture are separate financialobligationsw hich
  m ay be imposed upon a crim inaldefendant. Ifurtherunderstand there is aprocessw ithin
  the Departm ent of Justice whereby, in certain circum stances, forfeited ftm ds m ay be
  applied to restitm ion obligations. Iunderstand no one hasm ade any prom ises to m e that
  such aprocessw illresultin a decrease in m y restitm ion obligationsin thiscase.

        Iunderstand and agree,pursuantto 18 U.S.C.jj 3613 and 3664(n9,whatever
  monetary penalties are imposed by the Courtwillbe due immediately and subjectto
  im m ediate enforcem entby the United Statesasprovided forby statm e.Iunderstand ifthe
  Court im poses a schedule of paym ents, that schedule is only a m inimum schedule of
  paym entsand notthe only m ethod,nora lim itation on them ethods,availableto theUnited
  Statesto enforcethejudgment.
         Iagree to grantthe United Statesa w age assignm ent,liquidate assets,orcom plete
  any othertaskswhich willresultin im m ediate paym entin 1 11,orpaym entin the shortest
  timeinwhichf'ullpaymentcanbereasonablymadeasrequiredunder18U.S.C.j3572(d).
          Iexpressly authorizetheUnited StatesAttorney'sOfficeto obtain a creditreporton
  m e in orderto evaluatem y ability to satisfy any financialobligation im posed by theCoul't.

        1 agree the follow ing provisions,or wordsofsim ilar effect,should be included as
  conditionsofprobation and/or supervised release:(1)Kçrl-he defendantshallnotify the
  FinancialLitigation U nit,United States Attorney's Office,in w riting,of any interest in
  property obtained,directly or indirectly,including any interestobtained under any other
  nam e,or entity,including a trust,paM ership or corporation after the execution of this


                                                               Defendant'sInitials:
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 agreementuntilal1fines,restitm ion,moneyjudgmentsandmonetaryassessmentsarepaid
 in 111''and(2)tTheDefendantshallnotify theFinancialLitigation Unit,United States
 Attorney's Office,in w riting,atleast30 days priorto transfening any interestin property
 owned directly orindirectly by Defendant,including any interestheld orowned underany
 other nam e or entity, including tnlsts, partnership and/or corporations until al1 tsnes,
 restitmion,moneyjudgmentsandmonetaryassessmentsarepaidin111.''
        The parties will also jointly recommend thatas a condition of probation or
  supervised release, D efendant will notify the Financial Litigation Unit,U nited States
  Attom ey's Office,before D efendanttransfers any interest in property owned directly or
  indirectly by D efendant,including any interestheld or ow ned under any other nam e or
  entity,includingtrusts,partnershipand/orcorporations.See18U.S.C.j3664(14,(n).
         Regardless ofw hetherornotthe Courtspecifically directsparticipation orim poses
  a schedule of paym ents, l agree to f'ully participate in inm ate em ploym ent under any
  available orrecom m ended program soperated by the Bureau ofPrisons.

         Iagreeanypaymentsmadebymeshallbeappliedf'ullytothenon-jointandseveral
  portion ofmy outstanding restimtion balanceuntilthenon-jointand severalportion of
  restitm ion ispaid in 0 11,unlessthe Courtdeterm inesthatto do so w ould cause a hardship
  toavictim oftheoffensets).
        b. Du* to M ake FinancialD isclosures

         Iunderstand in thiscasethereisapossibility substantialfinesand/orrestitm ion m ay
  be im posed. In order to assistthe United States as to any recom m endation and in any
  necessary collection ofthose sum s,Iagree,ifrequested by the United States,to provide a
  com plete and tnzthf'ulfinancialstatem entto the United StatesAttorney'sOffice,within 30
  daysofthe requestor3 dayspriorto sentencing,w hicheverisearlier,detailing al1incom e,
  expendim res, assets, liabilities, gifts and conveyances by m yself,m y spouse and m y
  dependentchildren and any cop oration,partnership orotherentity in w hich Ihold orhave
  held an interest,for the period starting on January 1stof the year prior to the year m y
  offense began and continuing through the date ofthe statem ent. This financialstatem ent
  shallbe subm itted in a form acceptableto the United StatesAttorney'soffice.

         From the tim e of the signing of this agreem ent or the date I sign the financial
  statem ent,whichever is earlier,1 agree not to convey anything of value to any person
  withouttheauthorization ofthe United StatesAttorney'sOffice.



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        c. Understandine ofCollection M atters

        Iunderstand'
                   .

        1. aspartofthejudgmentinthiscaseIwillbeorderedtopayoneormoremonetary
           obligations;
        2. paym entshould be m adeas ordered by the Court;
        3. 1m ustm ailpaym ents,by cashier'scheck orm oney order,payable to the ''Clerk,
           U .S.D istrictCourt''to: 210 Franklin Road,S.W .,Suite540,Roanoke, V irginia
           24011;and includem y nam e and courtnum beron the check orm oney order;
        4. interest(unlesswaived by the Court)andpenaltiesmustbeimposed forlateor
           m issed paym ents;
        5. theU nited Statesm ay filelienson m yrealand personalproperty thatw illrem ain
           inplaceuntilmonetaryobligationsarepaidin111,oruntilliensexpire(thelater
           of20yearsfrom dateofsentencingorreleasefrom incarceration);
        6. ifIretain counselto representm e regarding the Uùited States'effortsto collect
           any of m y m onetary obligations,1 will im m ediately notify the United States
           Attom ey's Office,ATTN : FinancialLitigation Unit,P.O .Box 1709,Roanoke,
           Virginia 24008-1709,in writing,ofthe factofm y legalrepresentation;and
        7. 1,or my attorneï if an attorney willrepresentme regarding collection of
           m onetary obligatlons, can contact the U .S. Attorney's Office's Financial
           Litigation Unitat540/857-2259.

  C .ADD ITION AL M ATTERS

     1. W aiver ofltiehtto A ppeal-




        Knowing thatI have a rightof directappealofmy sentence under 18 U.S.C.j
  3742(a)andthegroundslistedtherein,Iexpresslywaivetherightto appealmysentence
  on those grounds oron any ground. In addition,Ihereby w aive m y rightofappealasto
  any and al1other issues in this m atter and agree lw illnotfile a notice ofappeal. Iam
  know ingly and voluntarily w aiving any rightto appeal. By signing this agreem ent,Iam
  explicitly and irrevocably directing m y attom ey not to file a notice of appeal.
  N otwithstanding any otherlanguage to thecontrary,Iam notwaiving my rightto appeal
  ortohavemyattorneyfleanoticeofappeal,astoanyissuewhichcannotbewaived,by
  law,ora claJ
             'zlzthat18 ES.C.# 2101 isunconstitutional. IunderstandtheUnited States
  expressly reserves al1ofits rightsto appeal. I agree and understand ifI nle any court
  document(exceptforan appealbased on an issuethatcannotbewaived,by lam ora
  collateralattack based on ineffectiveassistanceofcounsel)seeking to disturb,in any


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 w ay,any order im posed in m y case such action shallconstitute a failure to com ply
 w ith a provision ofthis agreem ent.

     2. W aiverofltiehtto C ollaterallv A ttack

          Iw aive any right1 m ay have to collaterally attack,in any futtzre proceeding,any
  orderissued in thism atter,unlesssuch attack isbased on ineffective assistance ofcounsel,
  and agree Iw illnot;le any docum entwhich seeksto dism rb any such order,unless such
  filing isbased on ineffective assistance ofcounsel. I agree and understand thatifI file
  any courtdocument(exceptfor an appealbased on an issuenototherwisewaived in
  this agreem ent; an appeal based on an issue that cannot be w aived, by Iaw ; or a
  collateralattack based on ineffectiveassistanceofcounsel)seekingto disturb,in any
  way,any order im posed in m y case,such action shallconstitute a failure to com ply
  with a provision ofthisagreem ent.

     3. lnform ation A ccessW aiver

         Iknow ingly and voluntarily agree to w aive a1lrights,whetherasserted directly or
  by a representative,to request or receive from any departm ent or agency of the United
  States any records pertaining to the investigation or prosecution of this case,including
  w ithoutlim itation any recordsthatm ay be soughtunderthe Freedom ofInform ation A ct,
  5U.S.C.j552,orthePrivacyActof1974,5 U.S.C.j552a.                                     '
     4. A bandonm ent ofSeized Item s

         By signing thisplea agreem ent,Ihereby abandon m y interestin,and consentto the
  officialuse,destnlction orotherdisposition ofeach item obtained by any 1aw enforcem ent
  agency during the course ofthe investigation,unlesssuch item isspecifically provided for
  in another provision of this plea agreem ent. I further w aive any and a11notice of any
  proceeding to im plem enttheofficialuse,destnlction,abandonm ent,orotherdisposition of
  such item s.

     5. D eportation

        IunderstandifIam notacitizenoftheUnitedStates,Imaybesubjecttodeportation
  from the United States,denied United States citizenship, and denied adm ission to the
  United Statesin the futtlre,asaresultofmy conviction forthe offensets)to which Iam
  pleading guilty.




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     6. Adm issibilitv ofStatem ents

        1 understand any statements I make (including this plea ageement,and my
  admissionofguilt)duringorinpreparationforanyguiltypleahearing,sentencinghearing,
  or otherhearing and any statem ents l m ake orhave m ade to 1aw enforcem ent agents,in
  any setting (includinj during a proffer),may be used againstme in this orany other
  proceeding. Iknow ingly w aive any rightIm ay have tmderthe Constitm ion,any statm e,
  rtlle or other source of 1aw to have such statem ents, or evidence derived from such
  statem ents,suppressed or excluded from being adm itted into evidence and stipulate that
  such statem entscan be adm itted into evidence.

     7. AdditionalO blieations

        lagree notto com m itany ofthe follow ing acts:

            * attem ptto w ithdraw m y guilty plea;
            * deny 1com m itted any crim e to w hich Ihave pled guilty;
            * makeoradoptanyargumentsorobjectionstothepresentencereportthatare
                inconsistentwith thisplea agreem ent;
            . obstructjustice;
            *   failto com ply with any provision ofthisplea agreem ent;
            @   com m itany othercrim e;
            *   m ake a false statem ent;
            *   failto enterm y plea ofguilty by A pril30,2019 - the expiration date ofthis
                plea agreem ent - tm less a continuance is agreed to by the U nited States
                Attorney'sOffice and granted by theCourt;

     8. Com pletion ofProsecution

          The U nited States Attorney's O ffice for the W estern Districtof Virginia and the
  U nited StatesA ttorney'sOfficefortheCentralD istrictofCalifom ia agreethatifIcom ply
  w ith m y obligationsunderthisplea agreem entand lam sentenced by thisCourt,they w ill
  notchargemewith any additiönalviolationsof18U .S.C.j2101fortheconductincluded
  in the Statem entofOffense and forany possession offirearm soram m unition com m itted
  before October2,2018 to the extentsuch possession isreflected in U SA O G i1len-000001
  through U SA O G i11en-0000014.
                 -




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      D .REM ED IES AV AILABLE T O TH E U NITED STATES

             1 hereby stipulate and agree that the United States Attorney's office m ay,at its
      election,pursue any ora11ofthe follow ing rem ediesifIfailto com ply with any provision
      ofthisagreement:(a)declarethispleaagreementvoid;(b)refusetodismissanycharges;
      (c)reinstate any dismissed charges;(d)filenew charges;(e)withdraw any substantial
      assistance m otion m ade,regardless ofwhethersubstantialassistance hasbeen perform ed;
      (9 refusetoabidebyanyprovision,stipulations,and/orrecommendationscontainedinthis
      pleaagreement;or(g)takeanyotheractionprovidedfortmderthisagreementorbystatm e,
      regulation orcourtrule.

            lnaddition,lagreeif,ibranyreason,my conviction issetaside,orlfailto comply
      with any obligation underthe plea agreem ent,theUnited Statesm ay fle,by indictm entor
      infonnation, any charges against m e which were filed and/or could have been filed
      concerning them attersinvolved in theinstantinvestigation.Ihereby w aivem y rightlm der
      FederalRule ofCrim inalProcedm e 7 to be proceeded againstby indictm entand consent
      tothefling ofan inform ation againstm e concem ing any such charges.Ialsohereby w aive
      any stam te oflim itationsdefense asto any such charges.     '

            The remedies setforth above are cumulative and notmutually exclusive. The
      United States'election ofany ofthese rem edies,otherthan decladng thls plea agreem ent
      void,does not,in any w ay,terminate m y obligation to com ply with the term softhe plea
      agreem ent. Theuse ofGsif''in thissection doesnotm ean Stif and only if.''

      E. G EN ER AL PR O VISIO N S

         1. Lim itation ofA ereem ent

              This agreem ent only binds the United States Attom ey's Office for the W estern
      DistrictofV irginia,except as provided in Section C,paragraph 8 above. Otherw ise,it
      doesnotbind any state orlocalprosecutor,otherUnited StatesA ttorney'sOffice orother
      office oragency of the United States G overnm ent,including,butnotlim ited to,the Tax
      D ivision oftheUnited StatesDepartm entofJustice,orthe InternalRevenue Service ofthe
I
:     United StatesD epartm entofthe Treastlry. These individualsand agenciesrem ain free to
1     prosecutemeforanyoffensets)committedwithintheirrespectivejurisdictions.
1                                                                     .
!        2. EffectofM v Sienature

I           ltm derstand m y signam re on this agreem entconstitm es a binding offerby m e to



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  enterinto thisagreem ent. lunderstand theU nited Stateshasnotaccepted m y offeruntilit
  signsthe agreem ent.

     3. Effective Representation

          Ihave discussed thetermsofthe foregoing plea agreem entand a11m atterspertaining
  to the chargesagainstm ew ith m y attorney and am fully satisfied w ith m y attorney andm y
  attorney's advice. A tthis tim e,lhave no dissatisfaction or com plaintw ith m y attorney's
  representation. Iagree to m ake know n to the Courtno laterthan atthetim e ofsentencing
  any dissatisfaction orcom plaintIm ay havew ith m y attom ey'srepresentation.

     4. M isconduct

        lf I have any inform ation concem ing any conduct of any governm ent attorney,
  agent,em ployee,orcontractorwhich could be cons% ed asm isconductoran ethical,civil,
  orcrim inalviolation,lagree to m ake such conductknow n to the United StatesAttom ey's
  Office and the Court,in writing,as soon as possible,but no later than m y sentencing
  hearing.

     5. FinalM atters

         Iunderstand athorough presentence investigation w illbe conducted and sentencing
  recomm endationsindependentofthe U nited StatesAttom ey'sO ffice w illbe m ade by the
  presentence preparer,w hich the Courtm ay adoptortake into consideration. lunderstand
  any calculation regarding the guidelines by the United StatesA ttorney's Office orby m y
  attorneyisspeculativeandisnotbinding upon theCourt,the Probation OfficeortheUàited
  States Attom ey's Office. N o guaranyee hasbeen m ade by anyone regarding the effectof
  the guidelineson m y case.

        1understand the prosecution w illbe free to allocute or describe the nature ofthis
  offense and the evidence in this case and m ake any recom m endations notprohibited by
  thisagreem ent.

         Itm derstand the U nited States retainsthe right,notwithstanding any provision in
  thisplea agreem ent,to inform the Probation Office and the Courtofa1lrelevantfacts,to
  addresstheCoul'twith respectto the natureand seriousnessofthe offensets),to respond
  to any questions raised by the Court,to correctany inaccuracies or inadequacies in the
  presentence reportand to respond to any statem entsm ade to the Courtby or on behalfof
  the defendant.


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           lwillingly stipulate there is a sufficientfactualbasis to supporteach and every
  materialfactualallegation contained within the charging documentts)to which Iam
  pleading guilty.

         Iunderstand thisagreem entdoesnotapply to any crim es orchargesnotaddressed
  in thisagreem ent. Iunderstand ifIshould testify falsely in thisorin a related proceeding
  Imaybeprosecuted forperjury and statementsImayhavegiven authodtiespursuantto
  thisagreem entm ay be used againstm e in such a proceeding.

          1understand m y attorney willbe freeto argue any m itigating factorson m y behalf;
  to the extentthey are notinconsistentw ith theterm softhisagreem ent. Iunderstand Iw ill
  have an opport unity to personally addressthe Courtpriorto sentence being im posed.

         Thiswriting sets forth the entire understanding between the partiesand constitutes
  the com plete plea agreem entbetween the United States Attorney for the W estern District
  ofVirginia and m e,and no other additionaltel'm s or agreem ents shallbe entered except
  and unlessthose otherterm s oragreem ents are in w riting and signed by the parties.This
  plea agreem entsupersedes a11prior understandings,prom ises,agreem ents,or conditions,
  ifany,between the United Statesand m e.

         Ihave consulted with m y attorney and fully understand a11m y rights. Ihaveread
  thisplea agreem entand carefully reviewed every pal4 ofitw ith m y attom ey.Iunderstand
  this agreem ent and 1 voluntarily agree to it. 1 have not been coerced,threatened,or
  prom ised anything other than the term s of this plea agreem ent, descdbed above, in
  exchange for m y plea of guilty. Being aw are of a11ofthe possible consequences ofm y
  plea,Ihave independently decided to enterthisplea ofm y own freew ill,and am affirm ing
  thatagreem enton this date and by m y signature below .

  Date: /î-/#
       '
              -



                                              om as alter Gillen,D efendant




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'



    '' 1   1       e    Case 2:18-cr-00759-CJC Document 137-3 Filed 05/06/19 Page 20 of 20 Page ID #:934
                         '




                               lhave fully explained a11rightsavailable to m y clientwith respectto the offenses
                          listedin thepending charging documentts). Ihavecarefullyreviewedeverypartofthis
                         plea agreem entwith m y client. To m y knowledge,m y client's decision to enterinto this
                         agreem entis an inform ed and voluntary one.

                               IfIw illcontinueto representm y clientregarding theUnited States'effortstocollect
                         any m onetary obligations, I w ill notify the U nited States A ttorney's Office, ATTN :
                         FinancialLitigation U nit,P.O .Box 1709,Roanoke,V irginia 24008-1709,in writing,of
                         thefactofmy continued legalrepresentation within 10daysoftheentry ofjudgmentin
                         thiscase.

               .
                         oate: f- JJ-7f
                                 F           e                        '
                                                                 D avid Eustis,Esq.
                                                                 C ounselfor ef ndant


                         Date: Y - Z Z - (R                               .
                                                                 Thom asT.Cullen
                                                                 U nited StatesA ttorney


                         Date: 4-/1-/9                             hris pher R . avanaugh
                                                                 A ssistantU nited StatesA ttorney




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